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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                        Case No. 06-20519
-vs-                                                    Hon: AVERN COHN

JAMAL ODEESH, et al.,

       Defendant.

                                          /



              ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS


       For reasons stated on the record on May 01, 2008, the motion styled

               Motion To Suppress Evidence Obtained By The Police In
               Violation Of The Fourth Amendment To The United States
               Constitution And Request For An Evidentiary Hearing

is DENIED.

       SO ORDERED.

                                           s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


Dated: May 5, 2008


I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
on this date, May 5, 2008, by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160
